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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

_____________________________________
JUAN MALDONADO                        )                CIVIL ACTION
     Plaintiff                        )
                                      )
v.                                    )                COMPLAINT
                                      )
LVNV FUNDING, LLC., EXPERIAN          )
INFORMATION SOLUTIONS, INC., AND      )
EQUIFAX INFORMATION SERVICES LLC      )
     Defendants                       )
_____________________________________ )                OCTOBER 24, 2014


                                   I. INTRODUCTION

      1. This is a suit brought by a consumer, Juan Maldonado, against Defendants

LVNV Funding, LLC (“LVNV”), Experian Information Solutions, Inc. (“Experian”) and

Equifax Information Services, LLC (“Equifax”) for violations of the Fair Credit Reporting

Act (“FCRA”), 15 U.S.C. § 1681 et seq., and with respect to LVNV, for violation of the

Fair Debt Collection Practices Act, 15 U.S.C. 1692 et seq.

      2. Plaintiff, Juan Maldonado, is a natural person residing in Ellington,

Connecticut, and he is a consumer within the meaning of the FDCPA and FCRA.

      3. Defendant LVNV is a Delaware limited liability company located in Nevada,

and it is a debt collector within the meaning of the FDCPA and is a “furnisher” as that

term is defined by the FCRA.

      4. Defendant Experian Information Solutions, Inc. (“Experian”) is an Ohio

corporation, located in California and is a “consumer reporting agency” as that term is

defined by the FCRA.
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       5. Defendant Equifax Information Services, LLC (“Equifax”) is a Georgia

corporation located in Atlanta and is a “consumer reporting agency” as that term is

defined by the FCRA.

       6. Jurisdiction in this Court is proper pursuant to 15 U.S.C. § 1681p, 15, U.S.C.

1692k, and § 28 U.S.C. §§ 1331.

       7. This Court has jurisdiction over the defendants because they regularly

conduct business in this state.

       8. Venue in this Court is proper, as the Plaintiff is a resident of Connecticut and

the violations that are the subject of this litigation occurred within this State.

       10.     Prior to June 8, 2009, HSBC Bank claimed certain consumer debt or debts

(the “Debt”) against Plaintiff which Debt was disputed by Plaintiff.

       11.     Plaintiff commenced a civil action against HSBC in which he challenged

the Debt.

       12.     Plaintiff and HSBC entered into an agreement (the “Settlement

Agreement”) to settle the claim, which agreement provided that the Debt was canceled.

       13.     LVNV subsequently began to report to Experian and to Equifax that it was

the assignee of the Debt.

       14.     Plaintiff disputed the debt to LVNV and informed it of the Settlement

Agreement.

       15.     LVNV continued to report the Debt to Experian and to Equifax.

       16.     On April 15, 2014, Plaintiff sent Experian a letter in which he advised that

he disputed the Debt, and he provided Experian with a copy of the Settlement

Agreement.



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          17.   Experian continued to include the Debt, as reported by LVNV, on Plaintiff’s

report.

          18.   Subsequently, Plaintiff applied to American Express for a credit card.

          19.   American Express denied Plaintiff’s application based, in part, upon the

continued reporting of the Debt on Plaintiff’s Experian report.

          20.   On April 15, 2014, Plaintiff sent Equifax a letter in which he advised that

he disputed the Debt, and he provided Equifax with a copy of the Settlement

Agreement.

          21.   Equifax continued to include the Debt, as reported by LVNV, on Plaintiff’s

report.

          22.   Subsequently, Plaintiff applied to Wells Fargo Bank for credit.

          23.   Wells Fargo denied Plaintiff’s application based, in part, upon the

continued reporting of the Debt on Plaintiff’s Equifax report.

          24.   Pursuant to FCRA § 1681i, Experian has a duty to perform a reasonable

investigation in response to consumer disputes, such as the dispute Plaintiff lodged with

Experian.

          25.   Experian violated FCRA § 1681i by failing to properly investigate Plaintiff’s

disputes of the LVNV account when requested to do so.

          26.   Experian’s failure to correct the disputed information and its continued

reports to third parties that Plaintiff owed a balance to LVNV constitute willful and/or

negligent violations of FCRA § 1681i.

          27.   When preparing a credit report regarding a consumer, Experian is also

required by § 1681e(b) of the FCRA to follow reasonable procedures to assure



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maximum possible accuracy of the information concerning the individual about whom

the report relates.

       28.    As a result of Experian’s failure to comply with the mandates of the FCRA,

Plaintiff was denied credit with American Express.

       29.    For its willful violations of the FCRA, Experian is liable to Plaintiff for actual

damages, attorney’s fees, costs, and punitive damages pursuant to FCRA § 1681n.

       30.    For its negligent violations of the FCRA, Experian is liable to Plaintiff for

actual damages, attorneys’ fees, and costs pursuant to FCRA § 1681o.

       31.    Pursuant to FCRA § 1681i, Equifax has a duty to perform a reasonable

investigation in response to consumer disputes, such as that which Plaintiff lodged with

Equifax.

       32.    Equifax violated FCRA § 1681i by failing to properly investigate Plaintiff’s

dispute of the LVNV account when requested to do so.

       33.    Equifax’s failure to correct the disputed information and its continued

reports to third parties that Plaintiff owed a balance to LVNV constitute willful and/or

negligent violations of FCRA § 1681i.

       34.    When preparing a credit report regarding a consumer, Equifax is also

required by § 1681e(b) of the FCRA to follow reasonable procedures to assure

maximum possible accuracy of the information concerning the individual about whom

the report relates.

       35.    As a result of Equifax’s failure to comply with the mandates of the FCRA,

Plaintiff was denied credit with Wells Fargo.




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       36.    For its willful violations of the FCRA, Equifax is liable to Plaintiff for actual

damages, attorney’s fees, costs, and punitive damages pursuant to FCRA § 1681n.

       37.    For its negligent violations of the FCRA, Equifax is liable to Plaintiff for

actual damages, attorneys’ fees, and costs pursuant to FCRA § 1681o.

       38.    Pursuant to FCRA § 1681s-2(b), LVNV bears a duty to perform a

reasonable investigation in response to consumer disputes, such as those Plaintiff

lodged with Experian and Equifax. LVNV knew or should have known, when it received

notice of Plaintiff’s dispute of the respective account from Experian and Equifax that

Plaintiff disputed the account because LVNV had received notice of Plaintiff’s dispute.

       39.    LVNV violated FCRA § 1681s-2(b) by failing to properly investigate

Plaintiff’s disputes when requested to do so by Experian and Equifax, and by failing to

inform the consumer reporting agencies that Plaintiff disputed the debt in response to

the investigation that Plaintiff disputed the account.

       40.    LVNV’s failure to correct the disputed information and its continued reports

to the credit reporting agencies stating Plaintiff’s debts were past due constitutes willful

and/or negligent violations of FCRA § 1681s-2(b).

       41.    As a result of LVNV’s failure to correct the disputed information, Plaintiff

was denied credit by American Express, Wells Fargo, and he has been hindered in his

attempts to obtain a mortgage.

       42.    For its willful violations of the FCRA, LVNV is liable to Plaintiff for actual

damages, attorney’s fees, costs, and punitive damages pursuant to FCRA § 1681n.

       43.    For its negligent violations of the FCRA, LVNV is liable to Plaintiff for

actual damages, attorneys’ fees, and costs pursuant to FCRA § 1681o.



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       44.    LVNV’s continued reporting of the account is a violation of the FDCPA, 15

U.S.C. § 1692e, in that it has made false statements regarding the Debt by claiming that

it is owed.

       45.    LVNV is liable for actual damages, additional damages of up to $1,000,

and attorney’s fees pursuant to 15 U.S.C. § 1692k.




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      WHEREFORE, Plaintiff seeks actual, statutory, and punitive damages, costs,

and a reasonable attorney’s fee.


                                      PLAINTIFF, JUAN MALDONADO

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